Case 7:19-cv-00511-GEC Document 1-1 Filed 07/19/19 Page1of8 Pageid#: 5

Exhibit A
« Cage 7:19-cv-00511-GEC Document 1-1 Filed 07/19/19 Page 2of8 Pageid#: 6

f

VIRGINIA:

IN THE CIRCUIT COURT FOR THE COUNTY OF BLAND

Theodora Lynn Jackson
Plaintiff,

V. Civil Law No. 18- d7q.

Michael S. Bowlin

3817 Sunrise Ave.
E] Paso, TX 79904

«eee

and
Martin Transport, Inc. VALTOADE CASE PAPERS
4200 Stone Road re : 11// 2018 MES 12845
, PATE : 41/(e/70 12:15
pUgEES 1A toes CASE : 024g) 18000272-00
ACCT « fAtwo THEGDO 1 ¥H
Serve: Chris Booth, Registered Agent oe : Jack ay THEODORA LYEN
4200 Stone Road a
Kilgore, TX 79904
and

Eastman Chemical Company
200 S. Wilcox Drive

Corporate Tax

Kingsport, TN 37662

Serve: Corporation Service Company, Registered Agent
100 Shockoe Slip, 2" Floor
Richmond, VA 23219

and

John Doe
[Address Unknown]

4
ty
Bod
af™
rs
+
8

Defendants.

 

 

 
Cas

 

 

@ 7:19-cv-00511-GEC Document1-1 Filed 07/19/19 Page 30f8 Pageid#: 7

COMPLAINT

[Jury Trial Demanded]

COMES NOW your Plaintiff, Theodora Lynn Jackson, by counsel, and moves for
judgment against the defendants, Michael S. Bowlin, Martin Transport, Inc., Eastman
Chemical Company and John Doe, jointly and severally, on the grounds and in the

amounts set forth below:

1. Plaintiff, Theodora Lynn Jackson, is a resident of Washington County,
Virginia.
a. Defendant, Michael S. Bowlin, was at all times relevant hereto, upon

information and belief, a resident of El Paso, Texas, and an employee of Martin
Transport, Inc., acting as an agent of Martin Transport, Inc., and within the scope of his
employment with Martin Transport, Inc.

3: Defendant, Martin Transport, Inc., was at all times relevant hereto, upon
information and belief, a corporation organized and existing under the laws of the state of
Texas, with its principal place of business in Kilgore, Texas.

4. Defendant, Eastman Chemical Company, was at all times relevant hereto,
upon information and belief, a corporation organized and existing under the laws of the
state of Delaware, with its principal place of business in Kingsport, Tennessee.

5. Defendant, John Doe, is an as yet unidentified employee of Eastman
Chemical Company, acting as an agent of Eastman Chemical Company, and within the

scope of his employment with Eastman Chemical Company.

 
 

 

7:19-cv-00511-GEC Document1-1 Filed 07/19/19 Page 4of8 Pageid#: 8

COUNT |
NEGLIGENCE

6. On or about May 7, 2015, at approximately 11:44 a.m., Michael S. Bowlin,
in his capacity as an employee of Martin Transport, Inc., was operating a tanker truck
owned and operated by Martin Transport, inc., proceeding north on Interstate 77 in Bland
County, Virginia.

7. At the same time and place, Theodora Lynn Jackson, was a back seat
passenger in a Chevy Silverado following behind the tanker truck driven by Michael
Bowlin on Interstate 77 in Bland County, Virginia.

8. The tanker truck driven by Michael S. Bowlin was loaded with Acetic
Anhydride.

9. The tanker truck had been filled with Acetic Anhydride at Eastman Chemical
Company in Kingsport, Tennessee, by as yet unknown employees of Eastman Chemical
Company.

10. Acetic Anhydride is a colorless, mobile, combustible liquid with a pungent
acetic acid odor, primarily manufactured for captive use in production of cellulose acetate
and related products. Acetic Anhydride is corrosive to the skin, eyes and mucous
membranes, and is extremely dangerous when inhaled.

11, The tanker truck driven by Michael Bowlin was leaking Acetic Anhydride
from a missing washout cap in front of the manhole cover on the top of the tanker.

12, The Acetic Anhydride splashed out of the tanker truck and onto the vehicle
in which Plaintiff was a passenger.

13. | When the Acetic Anhydride splashed onto the vehicle in which Plaintiff was

 
Case

 

 

7:19-cv-00511-GEC Document 1-1 Filed 07/19/19 Page 5of8 Pageid#: 9

riding, Plaintiff immediately felt severe burning in her eyes, pain in her chest and trouble
breathing due to the harshness of the vapors from the chemical. Due to the severity of
the exposure, upon arrival at the Wythe County Community Hospital Emergency Room,
Plaintiff was put through an entire decontamination process, along with having her eyes
flushed for forty five (45) minutes.

14. | Defendants each had a duty to ensure that the Acetic Anhydride was loaded
securely into the tanker truck operated by Michael S. Bowlin, in accordance with all
applicable laws and regulations, and with due regard for the safety of others using the
road.

15. Notwithstanding said duties, Defendants Michael S. Bowlin and John Doe,
and each of them, negligently failed to secure the load of Acetic Anhydride. Defendants
were negligent in that they:

(a) failed to properly seal the load of Acetic Anhydride within the tanker,

(b) failed to properly secure the load of Acetic Anhydride within the tanker;

(c) failed to utilize the proper cap on top of the tanker, allowing the load of Acetic
Anhydride within the tanker to escape onto passing motorists;

(d) failed to inspect the load of Acetic Anhydride while in transit;

(e) failed to keep a proper lookout for leaks of Acetic Anhydride while in transit;
and

(f) other acts of negligence to be proven at trial.
16. Atall times referred to in this Complaint, Michael S. Bowlin was acting as an
agent, servant and employee of Martin Transport Inc., and was acting within the scope of

his employment with Martin Transport, Inc.

 
Case

 

 

7:19-cv-00511-GEC Documenti1-1 Filed 07/19/19 Page 6of8 Pageid#: 10

17. Under the principle of respondiat superior, Martin Transport, Inc. is liable for
the negligent and tortious conduct of its employees.

18. Atall times referred to in this Complaint, John Doe was acting as an agent,
servant and employee of Eastman Chemical Company, and was acting within the scope
of his employment with Eastman Chemical Company.

19. | Under the principle of respondiat superior, Eastman Chemical Company is

liable for the negligent and tortious conduct of its employees.

COUNT II
GROSS NEGLIGENCE
20. Defendants’ actions in this matter, jointly and severally, amount to a

conscious disregard for the safety of others, rising to the level of gross negligence.

COUNT III
STRICT LIABILITY

21. Under applicable state and federal laws, defendants, jointly and severally,
are strictly {fable for the injuries complained of herein.

22. As a direct and proximate result of defendants’ negligence and gross
negligence aforesaid, Plaintiff sustained serious and permanent bodily injuries; has
suffered and will continue to suffer great pain of body and mind; has received and will
receive in the future hospital, doctor and related medical treatment in an effort to be

cured of her injuries; has incurred and will incur in the future hospital, doctor and related

 
Case

 

7:19-cv-00511-GEC Document 1-1 Filed 07/19/19 Page 7of8 Pageid#: 11

bills in an effort to be cured of the injuries she sustained; has lost income as a result of
missing time from work, and will in the future lose income as a result of her inability to
work; has been permanently impaired in her earning capacity; has been permanently
impaired in her body; has been forced to restrict her daily activities with a consequent
depravation of the joys and satisfaction of life, and will be forced to continue to restrict

her activities in the future with further depravation of the joys and satisfaction of life.

WHEREFORE, Plaintiff, THEODORA LYNN JACKSON, respectfully requests that
judgment be entered against the defendants, jointly and severally, in the sum of One
Million Five Hundred Thousand Dollars ($1,500,000.00), and her costs of this litigation,

all with interest as allowed by law including prejudgment interest, and for such other and

further relief as to the Court may seem meet and proper.

A trial by jury is demanded.

CHARLES C. LACY, SR., Esquire
VSB NO. 18162

Lacy, Campbell & Munique, PC
570 West Main Street

P.O. Box 120

Wytheville, Virginia 24382

(276) 228-6677

(276) 228-9300 [Fax]
ccls@lacycampbell.com

Counsel for Plaintiff

 

THEODORA LYNN JACKSON

By:

a ey oe

Of Counsel

Y

 
Case 7:19-cv-00511-GEC Document 1-1 Filed 07/19/19 Page 8of8 Pageid#: 12

é dO b AdOO Ldildosuy NOSNHOP ‘I VOOZdFa - LYNOD AO MYATD AdOSD SHOAVd

 

 

     

 

 

 

 

 

 

 

 

 

 

 

00'Sre $: divd LNNOWYV
00°9re $: QAYSCNSL
GNN4 ASOTONHOAL LUNCO} = OLE
(VNI) AONVISISSY LNASIGNI| = ZL
a0'06z$ (ALINOS 8 MV) 334d ONIMA MAIO] ~—- POE SAODIANAS Aly WVO31} EZ
co'z$ (4WHO) 334 JONVNALNIVW SSNOHLYNOD 62z (LUNOD LINDHIO) 33d GNNA LSNYL ADOTONHOS! (411)} 901
00'r$ ASWYSIT M1 6b CHAI) XW LIMA

 

  

WAL AdAL WOOU NI WV 00:60 LY 8LOZ/OL/ZL GAINAGAHSS : &
NNAT WHOCOSHL ‘NOSMOVE ‘ASLLNIV Id = Z
TW-HOLVO - LNIVIdWIOO:WOO * F NOLidl¥DSaq
€€6E : YAGIINN MOSHO O0'9PE$ > HOAHO
SSITYVHD ‘AVI: Ad divd
NNA1 YYOUOSHL ‘NOSHOVr : JO LNNODOV
00°000'00S'L$ : LNNOWY LINS
STV 13 S$ TAVHOIN 'NIIMO8 A NNA1 VYOCOSHL ‘NOSHOV? : SLNSWINOD 3SV9

ANAWAVd TINA - LNAWAVd WOO : AdAL ONITIA 6269 - # YALSIO’Y HV] : YaIHSVD
OLOOOZOLLEL - # NOLLOVSNVUL -S0z0000081 - # didD3dY
00eLc0008L TDLZO * #ASVD 8S-7b-Zb > SINIL SbLoz/co/vLL : SLV
MAIS
LYNOD LINDYID GNVT1E
idl393ea TWilolds0

   

£401 abeg ( 3 $S0Z0000081 : }d1a2ay

A
